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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

 ANDREW DOE                                                                           PLAINTIFF

 V.                                                   CIVIL ACTION NO: 3:18cv138 DPJ -FKB

 STATE OF MISSISSIPPI, ET. AL.                                                    DEFENDANTS

  PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ SUPPLEMENTAL
    MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

       Plaintiff Andrew Doe, by and through undersigned counsel, submits this response in

opposition to Defendants’ Supplemental Brief in Support of Their Motion for Summary Judgment.

       Defendant’s Supplemental Brief erroneously recites that subsequent to the filing of

Defendants’ Motion for Summary Judgment [Doc. 166], the Fifth Circuit issued two opinions directly

pertinent to Plaintiff Andrew Doe’s claims, referring to Walsh v. Hodge, 975 F.3d 475 (5th Cir. 2020)

and Van Overdam v. Texas A&M University, 43 F.4th 522 (5th Cir. 2022). In this regard, Defendants

wholly overlook the Fifth Circuit’s most recent decision in Doe v. William Marshall Rice University,

67 F.4th 702 (5th Cir. May 11, 2023) which has the most significant probative value to Plaintiff Doe’s

Title IX claims against the University.

       In Doe v. William Marshall Rice University, 67 F.4th 702 (5th Cir. May 11, 2023), the

Fifth Circuit was presented with an appeal from a grant of summary judgment against Doe on the

merits of Doe’s Title IX claims and breach of contract claim. The Fifth Circuit reversed the grant

of summary judgment on the Title IX claims, finding that the record clearly indicated that material

fact issues existed inter alia with regard to Doe’s Title IX “erroneous outcome” and “selective

enforcement” theories of liability against the University. In its reversal of the grant of summary

judgment on the erroneous outcome Title IX claim, the Fifth Circuit noted that “[a]t bottom, each

demonstrates that a reasonable jury—presented with the evidence in this record—could conclude


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that sex was a motivating factor in Rice’s decision to discipline Doe.” Id. The Fifth Circuit noted

that there were (1) shortcomings in the investigation by the University, (2) inconsistencies in the

statements of Roe, the female student, and (3) that the female student was effectively immunized

for engaging in what was essentially the same conduct which resulted in discipline to Doe, the

male student. In sum, the Fifth Circuit thus opined that, “A rational juror could also find the

variance between Roe’s allegations and the conduct for which Doe was ultimately sanctioned to

be explainable by the fact that Roe’s allegations fell apart under scrutiny. A factfinder would not

be unreasonable to conclude, as the Ninth Circuit speculated in Doe v. Regents of University of

California, that ‘when confronted by a claim that lacked merit, the University rushed to judgment’

by suspending Doe, ‘and then sought out a way to find the accused responsible for something in

order to justify its earlier actions.’” Rice, 67 F.4th 702, 711, citing Regents of Univ. of Cal., 23

F.4th 930, 939 n.12 (9th Cir. 2022).

       The same concerns facing the Fifth Circuit in Rice, and many others even more egregious

in nature, are found in the evidentiary record here and are outlined in the principal briefing by this

Plaintiff. Here, as noted by the Fifth Circuit in Rice, “[A]t some point an accumulation of

procedural irregularities all disfavoring a male respondent begins to look like a biased proceeding.”

Rice, at 711, citing Regents of Univ. of Cal., at 941. In the context of Doe’s Title IX selective

enforcement claim in Rice, the Fifth Circuit recited that, “[c]onstruing the evidence in a light most

favorable to Doe, the nonmovant, we agree that a material fact question exists as to whether the

University selectively enforced its policies against him by refusing to treat Roe and Doe equally

when Doe alleged—in response to Roe’s allegations—that she was guilty of the same conduct of

which he was charged: failure to disclose the risk of STD transmission.” Rice, at 712. Here the

same may be said of Andrew Doe and Bethany Roe. The University was fully advised that both



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Bethany Roe and Andrew Doe had engaged in the same conduct – having intercourse following

the consumption of alcohol. Yet, only the male student was subjected to discipline – a precept so

fundamentally reflective of selective enforcement in potential violation of Title IX that the Fifth

Circuit had no difficulty in reversing the grant of summary judgment in favor of the University.

        Defendants’ Response elects to place reliance upon Van Overdam v. Texas A&M

University, 43 F.4th 522 (5th Cir. 2022), acknowledging, however, that neither it nor Walsh v.

Hodge, 975 F.3d 475 (5th Cir. 2020), cert. denied, 141 S.Ct. 1693 (2021) squarely address the

circumstances presented here. In ruling on Van Overdam’s interlocutory appeal under 28 U.S.C.

§ 1292(b), the Fifth Circuit for the first time adopted the selective enforcement framework recently

pronounced in Doe v. Purdue University, 928 F.3d 652, 667 (7th Cir. 2019), thereby providing

enhanced viability to Doe’s selective enforcement claim under Title IX.

        In Van Overdam, the Fifth Circuit also reiterated its approval of Walsh v. Hodge, in which

it analyzed “The Right to Confront One’s Accuser in a University Proceeding.” Van Overdam, 43

F. 4th 522, discussing Walsh, 975 F.3d 475, 483. Within the Walsh analysis, the Fifth Circuit found

that a university had violated a professor’s due process rights by adjudicating sexual harassment

allegations against him without hearing live testimony from the accusing student. Id. at 484–85.

Instead, the accused professor only received “snippets of quotes” with no “opportunity to test [his

accuser’s] credibility.” Id. at 485. The Fifth Circuit observed that the university could have

avoided a due process violation by doing precisely what Texas A&M did in the Van Overdam

case: “the Committee or its representative should have directly questioned [the accusing student],

after which Walsh should have been permitted to submit questions to the Committee to propound

to [her].” Id. “In this respect, we agree with the position taken by the First Circuit ‘that due process

in the university disciplinary setting requires some opportunity for real-time cross-examination,



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even if only through a hearing panel.’” Id. The Fifth Circuit’s reiteration of the Walsh analysis in

Van Overdam clearly suggests that the Court maintains the fundamental precept that due process

requires the opportunity for real time cross-examination of the accuser – a right which was not

afforded Andrew Doe in the matter before this Court. Neither Van Overdam nor Walsh support

any determination other than that the due process rights of Andrew Doe were violated, given his

complete inability to cross-examine his accuser.

       Defendants’ reliance upon Walsh v. Hodge, 975 F.3d 475 (5th Cir. 2020) is equally

unavailing inasmuch as the opinion offers further support for Andrew Doe’s denial of due process

claim. While clearly distinct in the facts involving the termination of a university professor, which

arises in the employment context rather than from alleged student misconduct, the Fifth Circuit

took the opportunity to clearly express that it agrees with the position taken by the First Circuit

"that due process in the university disciplinary setting requires 'some opportunity for real-time

cross-examination, even if only through a hearing panel.” Walsh, at 485. Andrew Doe had no

opportunity for cross-examination of anyone, much less his accuser, and the violation of his due

process rights has been reinforced by the Fifth Circuit’s opinion in Walsh. In Walsh, the Fifth

Circuit noted, importantly, that “...we are persuaded that the substitute to cross-examination the

University provided Walsh—snippets of quotes from Student #1, relayed by the University's

investigator 1—was too filtered to allow Walsh to test the testimony of his accuser and to allow the

Committee to evaluate her credibility, particularly here where the Committee did not observe

Student #1's testimony. Walsh at 486. To the extent that Defendants’ Response asserts that the

probative value of any such cross-examination here would have been particularly limited,



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  In close parallel to Walsh, the information against Andrew Doe consisted of the University’s
investigator’s own summaries of student statements and the Hearing Panel had no opportunity to
evaluate the credibility of anyone making or allegedly supporting allegations against Andrew Doe.
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however, because the allegations did not turn on a credibility contest -- such an argument could

not be further misplaced. The credibility of Bethan Roe was placed directly in issue in this “he

said/she said” dispute, with inconsistent statements by Roe found in the record, yet Andrew Doe

was deprived of any opportunity to cross-examine Roe (either personally or through the Hearing

Panel) regarding the credibility of her allegations.

       In sum, neither Van Overdam nor Walsh support any determination other than that the due

process rights of Andrew Doe were violated. In fact, as was the situation in Rice, the accumulation

of procedural irregularities all disfavoring the male respondent begins to look like a biased

proceeding. Defendants’ motion for summary judgment should be denied in its entirety.

       RESPECTFULLY SUBMITTED, this the 15th day of June, 2023.

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